     Case 4:22-cv-01181 Document 19-2 Filed on 11/22/22 in TXSD Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

HARDBALL BASEBALL ACADEMY,                          §
LLC,                                                §
     Plaintiff,                                     §
                                                    §
v.                                                  §          Civil Action No. 4:22-CV-01181
                                                    §
                                                    §
CAMERON JOHNSON,                                    §
    Defendant.                                      §


          DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT


       ON THIS DAY, the Court Considered Cameron Johnson’s, Defendant in the above-styled

and numbered cause of action (“Defendant” or “Johnson”), Motion for Partial Summary Judgment.

After consideration of the Defendant’s Motion, exhibits on file, and arguments of counsel, if any,

this Court is of the opinion that Motion should be ______________________.

       IT IS THEREFORE ORDERED that, Defendant’s Motion for Patrial Summary Judgement

is hereby _____________________.


SINGED this _____ day of __________________, 2022.


                                                  ______________________________________
                                                  HONORABLE JUDGE PRESIDING




                                                                                       1|Page
   Case 4:22-cv-01181 Document 19-2 Filed on 11/22/22 in TXSD Page 2 of 2




APPROVED AS TO FROM AND ENTRY REQUESTED:

KEARNEY, MCWILLIAMS & DAVIS,
PLLC

/s/ Deborah L. Crain
Deborah L. Crain
SBN: 24067319
dcrain@kmd.law
Jamison Walters
SBN: 24098573
jwalters@kmd.law
55 Waugh Drive, #150
Houston, Texas 77077
Tel: (713) 936-9620, ext. 111
Fax: (713) 533-8055
ATTORNEYS FOR DEFENDANT




                                                                    2|Page
